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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:08CR3148
                                    )
          v.                        )
                                    )
LARRY J. LAUTENSCHLAGER,            )                    ORDER
LEONARD LAUTENSCHLAGER III,         )
WILLIAM M. MALONE,                  )
CHAD W. FERGUSON,                   )
JEFF L. MOATS,                      )
ANGEL M. KOSKI,                     )
                                    )
                Defendants.         )


     IT IS ORDERED:

     The motion of defendant Jeff L. Moats to continue, filing no.
90, is granted and,

     1. Trial as to all of the above defendants is continued to
9:00 a.m., February 23, 2009 before the Honorable Richard G. Kopf
in Courtroom 1, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Jury selection will be
held at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the defendants
in a speedy trial, and the additional time arising as a result of
the granting of the motion, the time between
January 6, 2009 and February 23, 2009 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and complexity
of the case, and the fact that the failure to grant additional time
might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 6th day of January, 2009.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
